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3
     UST-12, 5-96
4                          IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF ARIZONA
5
     In re:                                               )         CHAPTER 7
6                                                         )
     KELLOGG, ANDREW                                      )         Case No. 18-14707-PHX-BKM
7    LITTLE, SARAH                                        )
                                                          )
8                                                         )
                                     Debtor(s).           )
9                                                         )
                                                          )
10
                    ORDER APPROVING EMPLOYMENT OF AUCTIONEER
11
             Pursuant to the provisions of 11 U.S.C. § 327(a)
12
     and the Application for Appointment of Auctioneer, by the trustee,
13
     Dale D Ulrich, of Cunningham & Associates, Inc.                              , to serve as
14
     auctioneer, and good cause appearing, said application is herein
15
     approved.
16
     Property of the estate to be sold is described as follows:
17
      Lot in Sandoval County, NM, parcel number 1-005-074-246-403
18
     It is further ordered that upon completion of the duly
19
     advertised auction sale, a sworn report of sale, with all
20
     expenses properly documented, shall be submitted to the Trustee
21
     and filed with the Court.                   The auctioneer fees to the estate
22
     shall not exceed 10% of the gross sales price, and such other
23
     actual and necessary expenses subject to Court approval thereof.
24

25
                 DATE                                  BRENDA K. MARTIN
26
                                                       UNITED STATES BANKRUPTCY JUDGE
27

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